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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                              No. CR 08-2936 JB

JAMES GRIEGO,

                Defendant.

                             MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the parties’ Sealed Joint Objections to

Presentence Investigation Report, filed April 26, 2012 (Doc. 510). The parties filed this document

ex parte, and the objections were thus not provided to the United States Probation Office (“USPO”).

This procedure has hindered the USPO from preparing a formal addendum, responding to the

objections, and advising the Court how to deal with the objections. The Court orders the parties to

provide the objections to the USPO. The USPO will prepare a formal addendum. If the parties still

object, they must thoroughly brief their objections for the Court, fully and specifically advising the

Court why their review of the evidence reaches a different result from what the USPO concludes.

All evidence and arguments in support of their objections must be provided to the Court before the

hearing.

       Assistant United States Attorney Joel Meyers is requested to show this order, his objections,

and the Presentence Investigation Report to United States Attorney Kenneth J. Gonzales and

Assistant United States Attorney James Braun.

                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE
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